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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s

declaration in support of request to proceed in forma pauperis

(Filing No. 1199).      The Court has reviewed defendant’s request

and finds it should be granted.        Accordingly,

            IT IS ORDERED that defendant’s request to proceed on

appeal in forma pauperis is granted.          The appeal shall be

processed without prepayment of costs.

            DATED this 17th day of May, 2012.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
